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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


ABC & S, INC., an Illinois corporation,         )
d/b/a ABLUM BROWN & Co.,                        )
                                                )
                              Plaintiff,        ) Case No.
            vs.                                 )
                                                )
MACFARLANE GROUP, INC., a                       )
Nevada corporation,                             )
                                                )
                              Defendant.        ) BENCH TRIAL


                                           COMPLAINT

            ABC & S, Inc., dba Ablum Brown & Company (“Ablum”), by and through its

attorneys, Barack Ferrazzano Kirschbaum & Nagelberg LLP, for its complaint

against MacFarlane Group, Inc. (“MacFarlane”) for breach of contract, hereby states

as follows:

                                            PARTIES

            1.    Ablum is an Illinois corporation with its principal place of business

located at 351 West Hubbard Street, Suite 312, Chicago, Illinois, 60654. Ablum is a

provider of investment banking and related services.

            2.    MacFarlane is a Nevada corporation with its principal place of

business located at 6950 W. 56th Street, Mission, KS 66202. On information and

belief, MacFarlane is in the business of providing payday loans.




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                              JURISDICTION AND VENUE

            3.   This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1332(a)(2) because MacFarlane is a citizen of Nevada and

Kansas and Ablum is a citizen of Illinois and the amount in controversy exceeds

$75,000, exclusive of interest and costs. Also, pursuant to the written agreement

between the parties, all disputes between them are to be decided exclusively by

state or federal courts located in Cook County, Illinois.

            4.   Venue is proper pursuant to 28 U.S.C. § 1391 because Ablum has its

principal place of business in Chicago, Illinois and therefore resides here.

                                FACTUAL BACKGROUND

            5.   On or about January 13, 2011, Ablum entered into a written

agreement with MacFarlane whereby Ablum agreed to provide MacFarlane with

financial, advisory, and investment banking services in return for a percentage of

any monies subsequently loaned to MacFarlane and/or related entities by certain

identified lenders. A copy of the written agreement is attached hereto as Exhibit A.

            6.   It was a term of the written agreement between the parties that:

                 A.) Ablum would act as exclusive financial adviser solely
                     for the purposes of assisting MacFarlane and/or its
                     related entities in obtaining financing (Sec.1B).

                 B.) If financing was obtained from one or more of an
                     identified list of potential lenders, Ablum would be
                     entitled to an investment banking fee by way of
                     compensation (Sec.1).

                 C.) Medley Capital was identified on the list as a potential
                     lender (Sec.1).
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                  D.) Ablum’s investment banking fee would be 4% of the
                      first $30,000,000 in financing, plus 3% of the second
                      $30,000,000 (if any), plus 2% of the third $30,000,000
                      (if any) (Sec.2).

                  E.) MacFarlane would pay all Ablum’s legal costs and
                      appropriate and customary expenses in the event that
                      Ablum retained counsel in order to recover its
                      investment banking fee (Art. III. B).

            7.    Pursuant to the terms of the written agreement, Ablum assisted

MacFarlane and its related entities in attempting to procure financing.

            8.    In the course of assisting MacFarlane and its related entities, Ablum

contacted, among others, two potential lenders identified in the written agreement:

Cyan LLP (“Cyan”) and Medley Capital (“Medley”).

            9.    Following those contacts, in or about November 2011, MacFarlane

completed the negotiation of an unexecuted financing agreement whereby Cyan and

Medley would provide MacFarlane and/or one or more of its related entities with

$50,000,000 in financing.

            10.   The unexecuted financing agreement provided for Ablum’s investment

banking fee to be disbursed to it on closing.

            11.   On information and belief, in or about late November 2011, Cyan

informed MacFarlane that it was no longer prepared to proceed with the financing

agreement.

            12.   On learning that the financing agreement had fallen through, Ablum

reached out to Medley to ascertain if Medley would be willing to provide financing

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in Cyan’s absence. Medley, through its employee or agent Brian Dohmen informed

Ablum that it was not willing to provide financing.          Immediately prior to his

employment and/or agency with Medley, Mr. Dohmen had been part of the Ablum

team attempting to procure financing for MacFarlane.

            13.   On information and belief, in or about December 2011, Medley

provided MacFarlane and/or one or more of its related entities with $30,000,000 in

financing. In breach of the written agreement, MacFarlane failed to pay Ablum its

investment banking fee of $1,200,000.         In fact, neither MacFarlane nor Medley

informed Ablum that they had entered into a financing agreement at all. Ablum did

not discover that financing had been provided until about March 2013.

            14.   Despite requests that it do so, MacFarlane has wrongfully refused to

pay Ablum its investment banking fee, thereby causing Ablum loss and damage.

                           COUNT I – BREACH OF CONTRACT

            15.   Ablum restates and incorporates herein in Count I, paragraphs 1

through 14 of the Complaint.

            16.   The written agreement is a valid and enforceable contract pursuant to

which Ablum was to assist in attempts to secure financing for MacFarlane and/or

one or more of its related entities.

            17.   Ablum has performed all of its obligations under the written

agreement.

            18.   In or about December 2011, MacFarlane and/or one or more of its

related entities received financing from Medley.
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            19.   Pursuant to the written agreement, MacFarlane was obligated to pay

Ablum an investment banking fee of $1,200,000.

            20.   In breach of the written agreement MacFarlane is wrongfully refusing

to pay Ablum its investment banking fee, thereby occasioning Ablum loss and

damage in the sum of $1,200,000 plus legal costs and appropriate and customary

expenses.

            WHEREFORE, Ablum respectfully requests this Court enter an order:

            A.    Finding that MacFarlane breached the written agreement;

            B.    Awarding Ablum compensatory damages in the amount of $1,200,000
                  or such other sum as the Court deems just;

            C.    Awarding Ablum all legal costs and appropriate and customary
                  expenses, including attorney’s fees, associated with its attempts to
                  recover its investment banking fee; and
            D.    Awarding such other and further relief as the Court deems just.

Dated: October 18, 2013                           Respectfully submitted,

                                                  ABC & S, Inc., dba Ablum Brown &
                                                  Company, Inc.


                                                  By:   /s/Adam Oyebanji
                                                        One of Its Attorneys
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